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NOTICE OF APPEAL
to the 1st Circuit
Court of Appeals:
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appeal of denial of
Ecf Doc. #41 in civil
case #25-cv-10139

…regarding the
district court order set
forth in Ecf #146, and
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Ecf Doc. #145 and Ecf
Doc. 144# …because
[we] believe that the
outcome of the
GRANTING of the
Preliminary Injunction
would have BEEN
DIFFERENT had our
emergency and ex
parte motion to
intervene been
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GRANTED [and/ or]
granted along with
Ecf Doc # 131, and
#132 and #140 …taken
all together (see the
courts order Ecf Doc.
# 146)... which is also
given NOTICE OF
APPEAL. Here [we]
believe that as a
MATTER OF LAW
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…there is substantial
prejudicial
constitutional
manifest ERROR in
said District Court
order[s] and thereby
DE NOVO REVIEW on
appeal is required
here.
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Also, [we] intend upon
seeking IFP status in
the 1st circuit court of
appeals [and] IF such
is somehow denied…
then [we] intend
somehow to PAY the
appeal fee.

Further, it appear that
the 1st Circuit has an
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“accommodation
coordinator”...
although NOT [of
course] voluntarily
complying with the
ADA…. and so, [we]
will request ORAL
argument… and a
“communication
disability”
accommodation for
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Melvin Jones Jr. [due
to his history of CVA
and Stroke] …whereby
said accommodation
will be sought from
the 1st circuit
accommodations
specialist AFTER
docketing of our
notice of appeal in
the 1st circuit court of
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appeals [e.g.
transmittal of such by
the clerks office in the
US District Court].
Thank you.
Best,

(continued on the
NEXT page)...
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2-14-2025

____________
Colleen Connors
Email:
cmcolleen4@gmail.com



Date: 2-14-2025
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—------------------------
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Proof of Service:
The Notice of Docket
Activity that is
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constitutes service on
all ECF filers. 1st Cir. R.
25.0(e).
